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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                 ***************

STEPHEN BOLICK, as Personal
Representative of the Estate of Matthew         Case No.: 1:11-cv-01101-PLM
Bolick, deceased; KEVIN BOLICK; and
JONATHAN BOLICK,                                HON. PAUL L. MALONEY
                                                MAGISTRATE ELLEN S. CARMODY
       Plaintiffs,

vs.

CITY OF EAST GRAND RAPIDS, a
municipal Corporation; SGT. BRIAN DAVIS;
OFFICER GARY PARKER; and MARK
HERALD, Director East Grand Rapids
Department of Public Safety,

       Defendants.

WILLIAM F. MILLS (P24263)                       JOHN J. GILLOOLY (P41948)
BENJAMIN W. MILLS (P66155)                      Attorney for Defendants
Attorneys for Plaintiffs                        Garan Lucow Miller, P.C.
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 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY DISPOSITION

       NOW COME Plaintiffs through their counsel and in response to Defendants' Motion for

Summary Judgment, states as follows:

       1.   Admitted.

       2.   Admitted.

       3. Denied, for reasons set forth in the accompanying brief.

       4. Denied, for reasons set forth in the accompanying brief.
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       5. Denied, for reasons set forth in the accompanying brief.

       6.   Admitted.

       7.   Admitted.

       WHEREFORE, Plaintiff Stephen Bolick, personal representative of the estate of Matthew

Bolick, deceased, respectfully requests that this Honorable Court deny Defendants' Motion for

Summary Judgment.

Dated: January 4, 2013                      GRUEL MILLS NIMS & PYLMAN LLP

                                            By: /s/William F. Mills
                                                   William F. Mills (P24263)
                                                   Attorneys for Plaintiffs
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